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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


HUNTER STEWART and NEHEMIAH
BROWN, on behalf of themselves and all
others similarly situated,
                                              Civil Action No. 1:20-cv-00347
                     Plaintiffs

      v.
                                              NOTICE OF VOLUNTARY
UNIVERSITY OF MAINE and THE                   DISMISSAL
UNIVERSITY OF MAINE SYSTEM,

                     Defendants,




       Plaintiffs, pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, hereby

dismiss all causes of action in the above-captioned matter against all Defendants

without prejudice.



Dated: December 15, 2020

                                             Respectfully submitted,

                                             /s/Stephanie G. Albert

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                                             Local Counsel for Plaintiffs



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